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                        I                                             .
                       IN THE UNITED STATES DISTRICT COURT
                                                                                        FILED
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION                                        v&1_UIr/


TEXAS STATE LULAC;                                §
VOTO LATINO,                                      §
                                                  §
                   Plaint ffs,                    §
                                                  §
       V.                                                 Civil Action No: 1:21-cv-00546-LY
                                                  §


BRUCE ELFANT, in his official capacity as
the Travis County Tax Assessor-Collector, et
                                                  §
al,
                                                  §

                   Defendants.



                                             ORDER
       BE IT REMEMBERED on this the                       day of      M             ,   2022-, there

was presented to the Court the Motion for Admission Pro Hac Vice filed by David Louk

("Applicant"), counsel for Lisa Wise, in her official capacity as the El Paso County Elections

Commissioner, and the Court, having reviewed the motion, enters the following order:

       IT IS ORDERED that the Motion for Admission Pro Hac Vice is GRANTED, and

Applicant may appear on behalf of Lisa Wise, in her official capacity as the El Paso County

Elections Commissioner in the above case.

       IT IS FURTHER ORDERED that Applicant, if Applicant has not already done so, shall,

 in compliance with Local Court Rule AT-1(f)(2), immediately tender the amount of $100.00,

made payable to: Clerk, U.S. District Court.

       IT IS FURTHER ORDERED that Applicant, pursuant to the Administrative Policies and

Procedures for Electronic Filing in Civil and Criminal cases in the Western District of Texas, shall

register as a filing user within 10 days of the date of this Order.




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                       I                                           .
       IT IS FINALLY ORDERED that Applicant's Pro Hac Vice status shall not become

effective until Applicant has complied with all provisions of this Order.

       SIGNED this the    2         day of___________________ 20 22-.


                                                       ';z                  7
                                              UNITED TATES DISRICT JUDG'E




                                                 -5-
